Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 1 of 16 PageID #:7




                                                              Exhibit A
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 2 of 16 PageID #:8
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 3 of 16 PageID #:9
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 4 of 16 PageID #:10
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 5 of 16 PageID #:11
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 6 of 16 PageID #:12




                                                   Exhibit B
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 7 of 16 PageID #:13
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 8 of 16 PageID #:14




                                                   Exhibit C
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 9 of 16 PageID #:15
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 10 of 16 PageID #:16
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 11 of 16 PageID #:17
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 12 of 16 PageID #:18
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 13 of 16 PageID #:19




                                                     Exhibit D
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 14 of 16 PageID #:20
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 15 of 16 PageID #:21




                                                        Exhibit E
Case: 1:21-cv-04267 Document #: 1-1 Filed: 08/10/21 Page 16 of 16 PageID #:22
